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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Case No. 19-12239 (CSS)

Docket No.: 87

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Highland Capital Management, L.P., _)
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Debtor. )

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ORDER

Upon consideration of the Emergency Motion of the Official Committee of
Unsecured Creditors for an Order Shortening Notice with Respect to the Motion of
Official Committee of Unsecured Creditors to Transfer Venue of this Case to the
United States Bankruptcy Court for the Northern District of Texas [Docket No. 87]
filed on November 1, 2019; the Court having considered the Motion to Shorten; the
Court finding that (a) the Court has jurisdiction over the Motion to Shorten under 28
US.C. § 1334; and (b) the Motion to Shorten is a core proceeding under 28 U.S.C. §
157(b)(2); and the Court having determined that the movant has not established
sufficient cause to justify the relief requested in the Motion to Shorten.

IT IS HEREBY ORDERED THAT, the Motion is DENIED and the Court will

hear this matter on November 19, 2019 at 12:00 p.m. with an objection deadline for

UPA

Christopher S. Sontchi
Chief United States Bankruptcy Judge

November 12, 2019 at 4:00 p.m..

Dated: November 4, 2019

 

 
